 Case 1:17-cv-00092-LO-TCB Document 9 Filed 09/06/17 Page 1 of 1 PageID# 39



                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


YSANDA WHITE,                             :
                                          :
                        Plaintiff,        :
                                          :
v.                                        : Civil Case No. 1:17-cv-00092-LO-TCB
                                          :
TRANSUNION RENTAL SCREENING               :
SOLUTIONS, INC.                           :
                                          :
                        Defendants.       :
__________________________________________:

              STIPULATION OF DISMISSAL WITH PREJUDICE AS TO
              TRANS UNION RENTAL SCREENING SOLUTIONS, INC

       Pursuant to Fed. R. Civ. P. 41(a)(1)(ii), Plaintiff Ysanda White and Defendant TRANS

UNION RENTAL SCREENING SOLUTIONS, INC, by and through their undersigned counsel,

together hereby stipulate that all claims against Defendant TRANS UNION RENTAL

SCREENING SOLUTIONS, INC in the above-captioned case be dismissed with prejudice.



Date: August __31_, 2017.

 Respectfully submitted,                      Respectfully submitted,



 _/s/ Nathan D. Baney                         _/s/ Gibson Sinclair Wright____
 Nathan Baney, Va. Bar No. 75935              Gibson Sinclair Wright, Esq.
 BANEYLAW, P.C.                               Michael Robert Ward, Esq.
 2121 Eisenhower Ave. Suite 200               Morris & Morris, PC
 Alexandria, Virginia 22314                   11 South 12th Street, 5th Floor
 571-303-9102                                 PO Box 30
 240-556-0304 (fax)                           Richmond, VA 23218
 nathan@baneylaw.com                          gwright@lawmh.com
 Counsel for Plaintiff                        Marc.Kirkland@strasburger.com
                                              Attorneys for Trans Union LLC
